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UNITED sTATEs DlsTRICT COURT ~ -»-
WESTERN DISTRICT OF TENNESSEE 05 JUH _9 h 3

EASTERN DIVISION ' 2

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JAMES KITTINGER, W-D G`F TH. we items

Plaintiff,

vs. Civil Action No.: 1:03-1234- B/P

CORRECTIONS CORPORATION
OF AMERICA, et al.,

\./V\-/\-/\_r\_¢\p/V\_/W

Defendants.

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005 .

Dared:this l dayof down ,2005.

WQL-`

J-BAN%EI;-BREEN 'T¢A M. PLLQM
UNITED sTATEs brewer JUDGE

A&csqi+¢z;t;

Case 1:03-cV-01234-.]DB-tmp Document 35 Filed 06/09/05 Page 2 of 3 Page|D 64

APPROVED FOR ENTRY:

%%Md”m 0 559/had

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CERTIFICATE OF SERVICE

l certify that a copy ofthe foregoing has been served by U.S. mail upon Wayne
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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
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Honorable .l. Breen
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